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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

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UNITED STATES OF AMERICA                     :

               v.                            :
                                                     Criminal No. 1:20-cr-00337-GLR
STEPHEN SNYDER,                              :

               Defendant.                    :

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              MOTION OF STEPHEN L. SNYDER, DEFENDANT, TO SEAL

       Stephen L. Snyder, Defendant, moves to seal Defendant’s correspondence of today’s date,

filed contemporaneous with this Motion. On September 15, 2022, the Court entered an Order

[ECF 104] directing the parties to submit a report upon the occurrence of certain events. ECF 104

is under seal, and as a consequence, today’s correspondence responding to it is filed under seal.




                                                            /s/
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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY, that on this 3rd day of February, 2023, copies of the within Motion

of Stephen L. Snyder, Defendant, to Seal and the proposed Order were served on Government

counsel via ECF electronic filing.



                                                       /s/
                                          Arnold M. Weiner, Bar No. 01605




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